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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8   TOMMIE SLACK,

 9                               Plaintiff,               Case No. C20-05508-RSM-SKV

10          v.                                            MINUTE ORDER

11   S. KARIKO, et al.,

12                               Defendant.

13

14          The following Minute Order is made at the direction of the Court, the Hon. S. Kate

15   Vaughan, United States Magistrate Judge:

16          On November 4, 2021, the parties filed a stipulated motion seeking to extend the deadline

17   for Plaintiff’s expert witness disclosure from November 8, 2021 to January 10, 2022, and to

18   extend the deadline for Defendants’ rebuttal expert witness disclosure from November 29, 2021,

19   to January 31, 2022. Dkt. 59. Upon reviewing the motion, however, it is unclear to the Court

20   whether the parties believe the requested extensions will impact the other deadlines established

21   by the current pretrial scheduling order, Dkt. 51, and whether they are also seeking an extension

22   of those other deadlines.

23   //




     MINUTE ORDER - 1
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 1          Accordingly, on or before November 22, 2021, the parties are directed to notify the

 2   Court regarding their intentions with respect to the remaining deadlines in the case.

 3          Dated this 15th day of November, 2021.

 4                                                        William M. McCool
                                                          Clerk of Court
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                                                      By: s/ Kadya Peters
 6                                                       Deputy Clerk

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     MINUTE ORDER - 2
